              Case 4:14-cv-00717-JM Document 1 Filed 12/08/14 Page 1 of 22
                                                                                               FILED
                                                                                             US DISTRICl COURT
                                                                                         EASTERN DISTl\ICT ARKANSAS



                            UNITED STATES DISTRICT COURT
                                                                                              DEC 0 8 2014
                            EASTERN DISTRICT OF ARKANSAS                         JAMES W~Mc
                                                                                          MACK. CLERK
                                LITTLE ROCK DIVISION                             Bv:_----'~~~---=...__-
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JIMMY LEWIS                                                                             PLAINTIFF

v.                          CASE No:     L( . \~ -(v -11 =t . . )\<\ Y\
OCWEN LOAN SERVICING, LLC                                                         DEFENDANT

                                          COMPLAINT

       Comes now the Plaintiff, Jimmy Lewis, by and through his counsel, Leigh Law PLLC., and

for his complaint states:                                     This case assigned to District Judpe     (Y\cc-_d\(
                                                              and to Magistrate Judge              \J D\ pe_
                                        INTRODUCTION

       This action involves the facts and circumstances surrounding the servicing of a home loan

by Defendant Ocwen Loan Servicing, LLC. Plaintiff seeks actual damages, statutory damages,

punitive damages, treble damages, damages for emotional distress, costs to bring this action, attorney

fees, declaratory judgment that Ocwen' s conduct against the Plaintiff is wonton and willful, so that

Ocwen will be on notice that their current course of conduct will continue to subject them to future

damages, including punitive damages; for breach of contract, unjust enrichment, violations of the

Real Estate Settlement Procedures Act ("RESPA"), 12 USC §§2601, et. seq., the Fair Debt

Collections Practices Act ("FDCPA ''), 15 USC §§ 1692 et. seq., the Arkansas Fair Debt

Collection Practices Act ("AFDCPA ''),A.CA.§§ 17-24-501 et. seq., the Fair Credit Reporting Act

("FCRA "), 15 USC§§ 1681 et. seq., and the Arkansas Deceptive Trade Practices Act ("ADTPA "),

A.CA. §§4-88-101 et. seq.

                                             PARTIES

        1.     Jimmy Lewis (hereafter ··Lewis"), is an individual residing in Union County,

Arkansas.
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           2.      Ocwen Loan Servicing, LLC (hereafter "Ocwen"), is a limited liability company

licensed to do business in the state of Arkansas.

           3.      Ocwen, which is a subsidiary of Ocwen Financial Corporation, is a mortgage bank

and home mortgage loan servicer, servicing mortgages on behalf of lenders and investors; including

pooled mortgage backed securities.

           4.      Ocwen maintains its principal place of business at 1661 Washington Road, Suite 100,

West Palm Beach, Florida 33409.

           5.      Ocwen' s registered agent, according to the Arkansas Secretary of State, 1 is the

Corporation Company, located at 300 Spring Building, Suite 900, in Little Rock, Arkansas.

           6.      The property which is the subject of this litigation is 116 Blazer Road, in Junction

City, Arkansas 71749.

                                      JURISDICTION AND VENUE

           7.      This Court has subject matter jurisdiction pursuant to 28 USC 1332(d) and venue

in this Court is proper pursuant to 28 US. C. 13 91.

           8.       Defendant does substantial business in this state and within the Eastern District of

Arkansas; receives substantial compensation and profits from the servicing of home mortgage loans

in this District; and has engaged in unlawful practices in this District, so as to subject itself to

personal jurisdiction in this District.

           9.       As Plaintiffs' state claims are related to Plaintiffs federal claims, and Plaintiffs state

claims are inextricably entwined and arise out of a common nucleus of related facts, forms part of

the same controversy under Article III of the United States Constitution, are not complex or novel




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    Filing number I 00213263.
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and are straightforward, this Court has supplemental jurisdiction to hear and adjudicate Plaintiff's

state claims against the Defendant under 28 US. C 13 6 7.

        10.      Declaratory judgment is available pursuant to 28 US.C. 2201.

              RELEVANT PRECEDENT AND STATUTORY STRUCTURE OF THE REAL
                    ESTATE SETTLEMENT PROCEDURES ACT ('•RESPA")

        11.      Congress enacted RESP A to effect '"significant refom1S in the real estate settlemem

process ... to insure that consumers throughout the Nation are provided with greater and timelier

information on the nature and costs of the settlement process and are protected from unnecessarily

high settlement charges caused by certain abusive practices." 12 US. C 2601 (a).

        12.      Originally, "settlement process" in RESPA included negotiation and execution of

mortgage contracts, but in 1990, RESP A was amended to include loan servicing. 2

        13.      Correspondence must meet several statutory requirements in order to be considered

a qualified written request (hereinafter "QWR"). Specifically, a QWR is a written request other than

a notice on a payment coupon or other payment medium supplied by the servicer. 12 USC

2605(e)(l)(B). A QWR must request information relating to the servicing of the loan. 12 USC

2605(e)(l)(A).

        14.      Under RESPA, "[t]he term 'servicing' means rece1vmg any scheduled periodic

payments from a borrower pursuant to the terms of any loan ....... and making the payments of

principal and interest and such other payments with respect to the amounts received from the

borrower as may be required pursuant to the terms of the loan." 12 USC 2605(i)(3).




2
 Section 2605 was enacted as an amendment to RESP A in 1990, by the Cranston-Gonzalez National Affordable Housing
Act and amended one year later. Pub. L. No. 101-625, 941, 104 Stat. 4079; S. Rep. No. 101-l 7125(1990)(Conf. Rep.).
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        15.     Upon receipt of a valid QWR, RESPA requires a loan servicer to undertake an

investigation, and make any appropriate corrections to the borrower's account and notify the

borrower of such corrections. 12 USC 2605(e)(2)(A).

                                     FACTUAL ALLEGATIONS

        16.     Lewis owns the home located at 116 Blazer Road in Junction City, Arkansas 71749.

        17.     Ocwen services Plaintiffs loan. Upon information and belief, Ocwen has serviced

this loan for three years.

        18.     On or about January 23, 2014, Ocwen forwarded to Lewis his Annual Escrow

Account Disclosure Statement Account History (hereafter "EDS") (See, exhibit "A" attached hereto

and incorporated by reference).

        19.     Lewis has never before in the three (3) years Ocwen has serviced his home loan

received an Annual Escrow Account Disclosure Statement Account History.

        20.     Lewis was unaware that Ocwen maintained an escrow account for his mortgage at

all, until receipt of the EDS in January 2014.

        21.     Upon review of the January 23, 2014 Annual Escrow Account Disclosure Statement

Account History, Lewis noticed inaccuracies.

        22.     Lewis disputes Ocwen collecting escrow monies for property taxes, which Lewis paid

directly to the State of Arkansas.

        23.     Lewis disputes Ocwen collecting escrow monies for homeowners' insurance, which

Lewis paid directly to Allstate Insurance Company.

        24.     The explanation of the EDS reflects $321.46 of Lewis's monthly payment was to be

credited to his escrow account every month.
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                                      2012 DISCREPANCIES

       25.        The EDS began with the month of April, 2012, and reflected a negative balance of-

$3,278.36. Plaintiff does not know why.

       26.        The EDS reflected $231.32 was credited to Lewis' escrow account for the months of

May through December 2012.

       27.        The EDS reflects Ocwen paid Lewis' 2011 property taxes in the amount of $680.23

in April, 2012.

       28.        Lewis paid his 2011 property taxes directly on October 25, 2013; in the amount of

820.29 (See, exhibit "B" attached hereto and incorporated by reference).

       29.        The State of Arkansas has no record of Ocwen ever paying the 2011 property taxes.

       30.        The EDS reflects an ending balance of negative - $1890.44 for December 2012.

                                      2013 DISCREPANCIES

       31.        The EDS reflected Lewis's escrow account began in 2013 with a negative balance of

- $1659.12. Plaintiff does not know why.

       32.        The EDS reflects Ocwen paid Lewis' 2012 property taxes in the amount of $680.23

in April, 2013.

       33.        Lewis paid his 2012 property taxes directly on October 25, 2013 in the amount of

748.34 (See, exhibit "B" attached hereto and incorporated by reference).

       34.        The State of Arkansas has no record of Ocwen paying the 2012 property taxes.

       35.        The EDS reflected $231.32 was a credited to Lewis' escrow account for the months

of January through April 2013.

       36.        The EDS reflected $321.46 was a credit to Lewis' escrow account for the months of

May through December 2013.
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       37.        Lewis' payment has never changed; the same amount should have been credited to

his account every month.

       38.        The EDS reflects Ocwen force placed property insurance in the amount of $1429.00

in January 2013.

       39.        The EDS reflects Ocwen force placed property insurance in the amount of $120.00

in November 2013.

       40.        Lewis has maintained his homeowners' insurance with Allstate since November 7th,

2013, policy number 995088342.

       41.        Prior to November 7tt•, 2013, Lewis maintained his homeowners' insurance with

American Security Insurance.

       42.        Lewis was current on his homeowners' insurance in January of 2013, when Ocwen

force placed homeowners' insurance on Lewis' account.

       43.        The EDS reflects an ending balance of $20.21 for December 2013.

                                      2014 DISCREPANCIES

       44.        Lewis paid his 2013 property taxes directly on March 17, 2014, in the amount of

657.54 (See exhibit "C" attached hereto and incorporated by reference).

                             LEWIS' ATTEMPTS AT RESOLUTION

       45.        On March 18, 2014, Lewis sent to Ocwen a handwritten request to close his escrow

account and included receipts for the previous three years showing Lewis had paid his taxes directly

to the State of Arkansas (See, exhibit "D" attached hereto and incorporated by reference).

       46.        On or about April 6, 2014, Lewis phoned Ocwen to discuss his disputes with his

escrow billing.
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        47.       On or about April 19, 2014, Lewis phoned Ocwen to discuss his disputes with his

escrow billing.

        48.       On or about May 20, 2014, Lewis phoned Ocwen to discuss his disputes with his

escrow billing.

        49.       On or about June 20, 2014, Lewis phoned Ocwen to discuss his disputes with his

escrow billing.

        50.       On or about July 16, 2014, Lewis phoned Ocwen to discuss his disputes with his

escrow billing.

        51.       On August 24, 2014, Lewis sent to Ocwen, to the address designated on the Ocwen

website to receive QWR, a letter outlining his disputes with Ocwen's accounting of Lewis' trust

account (See, exhibit "E" attached hereto and incorporated by reference).

        52.       Ocwen did not acknowledge receipt of the QWR within twenty (20) days of receipt.

        53.       Ocwen did not respond to Lewis' inquiries and disputes, as outlined in the QWR,

within ninety (90) days.

        54.       Ocwen never addressed the discrepancies which were repeatedly brought to its'

attention.

                PATTERN OR PRACTICE OP VIOLATIONS BY DEFENDANT

        55.       Ocwen's failure to timely acknowledge receipt, investigate or respond to QWR is

typical for Ocwen, which has a nationwide pattern and practice of ignoring Qualified Written

Requests, and, failing to address discrepancies even when brought to their attention multiple times. 3




3
  In December 2013, Ocwen settled with the Consumer Financial Protection Bureau and 49 states and the District of
Columbia for 2.1 billion [emphasis added] dollars to settle allegations of Ocwen's improper handling of mortgages.
http://www.consumerfinance.govlb log!explainer-what-the-mu Iti-bi II ion-do llar-ocwen-enforcement-action-means-for-
you.
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                                            CREDIT REPORTING

         56.      Defendant has reported negative and inaccurate information to Plaintiff's credit

reports, these discrepancies which are the fault of Defendant.

         57.      Plaintiff has been denied credit, had to pay a higher interest rate, and suffered

humiliation due to the negative reports by Defendant to his credit reports. 4

       COUNT 1: VIOLATIONS OF THE FEDERAL REAL ESTATE SETTLEMENT
               PROCEDURES ACT ("RESPA"), 12 U.S.C. §§ 2601, et. seq.

         58.      Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

         59.      Defendant did not acknowledge receipt of the QWR from Plaintiff within twenty (20)

days ofreceipt, in violation of 12 USC 2605(c)(l)(A),(e)(2).

         60.      Defendant did not respond to the disputes and inquiries outlined in the QWR within

sixty (60) days ofreceipt, in violation of 12 USC 2605(c)(l)(A), (e)(2).




In Feb 2014, Benjamin Lawsky, superintendent of New York's Department of Financial Services, restricted the
proceedings of the cash-deal worth $2.7 billion entered into by Wells Fargo & Co. and Ocwen in Jan 2014 as it doubted
Ocwen's capability to service loans.

On May 19, 2014, a homeowner filed a putative class action lawsuit against Ocwen Loan Servicing, LLC in Pennsylvania
federal court. alleging that Ocwen consistently failed to file mortgage satisfactions in a timely manner, in violation of
the federal Mortgage Satisfaction Act and the U.S. Real Estate Settlement Procedures Act.

An embattled mortgage servicer was allegedly forcing homeowners to sign a gag order barring them from bad-mouthing
the company before completing a reworked home loan. http://nypost.com/2014/05/2 l/ocwen-forced-homeowners-to-
stay-guiet-reports/

Ocwen sets aside l 00 million for legal troubles. http://nypost.com/2014/10/30/ocwen-sets-aside- l OOm-to-end-legal-
troubles/

4
 A 1996 amendment to the FCRA created compliance obligations for furnishers under §623 of the FCRA. According to
a report of the Senate Committee on Banking, Housing and Urban Affairs, "[t]he driving force behind the changes was
the significant amount of inaccurate information that was being reported by consumer reporting agencies and the
difficulties that consumers faced getting such errors corrected. In fact, during the period leading up to the amendments,
the FTC [Federal Trade Commission] consistently indicated that it received more complaints about consumer report
errors than any other item." Section 623, among other things, generally provides that a furnisher must not furnish
inaccurate consumer information to a CRA, and that furnishers must investigate a consumer's dispute of the completeness
or accuracy of information after the furnisher receives notice from a CRA. See, Consumer Credit Reporting Reform Act
of 1996 Pub. L. 104-208, Div. A, Tit. II, Subtit. D, Ch. 1
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       61.       Defendant did not provide an annual escrow statement every year, in violation of 12

USC§§ 2609(c)(2)(a), 2609(c)(B).

       62.       Defendant did not notify Plaintiff in writing of each assignment, sale, or transfer of

the servicing of the loan to any other person or entity, in violation of 12 USC 2605(b)(1).

       63.       Defendant did not notify the borrower in "\\Titing of each assignment, sale, or transfer

of the servicing of the loan to any other person no less than fifteen days before the effective date of

such transfer, in violation of I 2 US. C. 2605 (b)(2)(A).

       64.       RESP A allows for damages of $1000.00 per violation in cases where Defendant

shows a pattern or practice of noncompliance with the requirements of RESPA. 12 USC

2605(/)(/)(B).

       65.       Defendant charged multiple foes and charges to Plaintiffs account and accepted

payment for services not actually rendered, in violation of 12 USC 2607(b).

       66.       Defendant charged excessive and duplicative escrow fees to the account, in violation

of 12 USC§§ 2609(a)(l). 2609(aJ(2).

       67.       Defendant reported Plaintiffs mortgage as delinquent during the sixty (60) day

period following its receipt of Plaintiffs QWR, in violation of 12 US. C §2605(e)(3), which

negatively affected Plaintiffs credit rating and credit worthiness.

       68.       Plaintiff suffered actual damages as a result of Defendant's violations of this statute.

       69.       Plaintiff is entitled to recover actual damages and attorney's fees and costs.

  COUNT 2: VIOLATIONS OF FEDERAL FAIR DEBT COLLECTIONS PRACTICES
                 ACT ("FDCPA"), 15,U.S.C. §§ 1692 ET. SEQ.

       70.       Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

       71.       Plaintiff is a consumer as defined by 15 USC 1692a(3).
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         72.      Defendant is a "debt collector" as defined by 15 USC. 1692a(6), and attempting to

collect a "debt" from the Plaintiff, in so far as "debt" is defined pursuant to 15 US. C. 1692a(5).

         73.      The FDCPA is a strict liability statute and debt collectors are liable for any violation

of the Act. 5

         74.       RESPA, AFDCPA, and FCRA violations committed by the Defendant are per se

violations of 15 US. C. 1692f; which states, "A debt collector may not use unfair or unconscionable

means to collect or attempt to collect any debt.

         75.      Plaintiff suffered actual damages as a result of Defendant's violations of the FDCPA. 6

         76.      Plaintiff is entitled to recover statutory damages under 15 USC. 1692k(a)2(A), actual

damages under 15 US.C.k(a)l, and reasonable attorney's fees under 15 US.C.k(a)J.

        COUNT 3: VIOLATIONS OF THE ARKANSAS FAIR DEBT COLLECTION
             PRACTICES ACT ("AFDCPA"), A.C.A. §§ 17-24-501 et. seq.

         77.      Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

         78.      Plaintiff is a "consumer," in so far as "consumer" is defined by A.CA. 17-24-502(2).




5
 The FDCPA is a "[r]emedial, strict liability statute which was intended to be applied in a liberal manner." Picht. v.
Hawks, 77 F. Supp. 2d 1041, 1043 (D. Minn. 1999) affd, 236 F.3d446 (8th Cir.2001). "The purpose ofthe FDCPA is
to 'eliminate abusive debt collection practices by debt collectors,' and debt collectors are liable for failure to comply
with 'any provision' of the Act." Richmondv. Higgins, 435 F.3d 825, 828 (8 1h Cir. 2006).

"The question of whether a person is a "debt collector" is dependent on the person's general activities rather than on the
specific allegations in the case. Kaltenbach v. Richards, 464 F.3d 524, 529 (5th Cir. 2006) (stating, "[A] party's general.
not specific, debt collection activities are determinative of whether they meet the statutory definition of a debt collector
... Whether a debt collector's specific action qualifies as the collection of a debt ... is a separate inquiry from whether
the party meets the general statutory definition of a debt collector."). This position appears consistent with the statutory
definition of "debt collector," which is "one who regulai/v collects or attempts to collect ... debts owed or due or
asserted to be owed or due another." 15 USC§ 169:!a(6J (emphasis added). Hutsler. et al.. v. Shapiro & Kreisman.
LL(' 4:13-cv-2159-SPM (E.D. MO. June 2, 2014).
6
  Consumer does not need to meet the elements of the state law tort of intentional infliction of emotional distress Riley
v. Giguiere, 631 F. Supp. 2d 1295, 1315 (E.D. Cal. 2009); Davis v. Creditors Interchange Receivable Mgmt., LLC, 585
F. Supp. 2d 968, 971-77 (N.D. Ohio Nov. 12, 2008); Panahiasl v. Gurney, No. 04- 04479 JF, 2007 WL 738642, at *2
(N.D. Cal. Mar. 8, 2007),
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         79.       Defendant is a "debt collector," in so far as "debt collector" is defined by A.CA. 17-

24-502(5)(A), attempting to collect a "debt," in so far as "debt" is defined by A.CA. 17-24-502(4)

         80.    A.CA. 17-24-505(a) states, "A debt collector may not engage in a conduct the natural

consequence of which is to harass, oppress, or abuse a person in connection with the collection of a

debt."

         81.    A.CA. 17-24-507(a) states, "A debt collector may not use unfair or unconscionable

means to collect or attempt to collect a debt."

         82.       A.CA. 17-24-512(a)(l) states, "A debt collector who fails to comply with this

subchapter with respect to a person is liable to the person in an amount equal to the sum of an actual

damage sustained by the person as a result of the failure."

         83.       A.CA. 17-24-512(2}(A) states, "A debt collector who fails to comply with this

subchapter with respect to a person is liable to the person for statutory damages of up to $1,000.00."

         84.       A.CA. 17-24-512(2)(A) states, "A debt collector who fails to comply with this

subchapter with respect to a person is liable for the costs of the action. together with a reasonable

attorney's fee."

         85.       The RESPA, FCRA and FDCPA violations committed by the Defendant are per se

violations of A.CA. 17-24-505(a) &A.CA. 17-24-507(a).

         86.       Plaintiff suffered actual damages for violations of the AFDCPA.

         87.       Plaintiff is entitled to recover statutory and actual damages, along with his costs and

reasonable attorney fees.

COUNT 4: VIOLATIONS OF ,FEDERAL FAIR CREDIT REPORTING ACT ("FCRA"), 15
                           U.S.C. §§ 1681 et. seq.

         88.       Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.
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        89.     Defendant's negative reports to the credit agencies were in error, thereby making the

information reported "inaccurate" and which negatively affected Plaintiffs credit score and credit

worthiness; in violation of 15 USC §1681s-2.

        90.     Plaintiff suffered actual damages as a result of Defendant's violations of the FCRA.

        91.     Plaintiff is entitled to punitive damages pursuant to 15 USC 169Jn.

        92.     Plaintiff is entitled to recover actual damages, costs and attorney's fees; pursuant to

15   us.c §§ 1681o, 1681o(2).
COUNT 5: VIOLATIONS OF THE ARKANSAS DECEPTIVE TRADE PRACTICES ACT
                   ("ADTPA") A.C.A. §§ 4-88-101 et. seq.

        93.     Plaintiff reiterates and incorporates ali previous paragraphs as if fully stated herein.

        94.     Violations of the FDCPA, AFDCPA and RESP A are per se violations of the ADTPA;

specifically, A. CA. 4-88-107 (a)(l 0), which states that deceptive and unconscionable trade practices

made unlawful and prohibited, include engaging in any unconscionable, false, or deceptive act or

practice in business, commerce, or trade:

        95.     Plaintiff suffered actual damages as a result of Defendant violations of the ADTPA.

        96.     A private right of action and attorney fees are available under the ADTP A,

specifically, A.CA. 4-75-21 l; and as such Plaintiff is entitled to recover his actual damages, costs,

and attorney's fees.

        COUNT 6: BREACH OF CONTRACT OR IN THE ALTERNATIVE UNJUST
                              ENRICHMENT

        97.     Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

        98.     A valid written contract was formed between Plaintiff and Defendant.

        99.     The Defendant materially breached the contract.

        100.    The Defendant's performance under the contract was not excused.
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        101.       The Plaintiff has suffered damages due to the Defendant's material breach of the

contract.

        102.       The Defendant has been unjustly enriched due to their material breach of the written

contract between the Plaintiff and Defendant.

        103.       The Plaintiff suffered damages with over payments to their escrow and lack of credits.

                               DAMAGES AND PRAYER FOR RELIEF

                                            RESP A DAMAGES

        104.       Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

        105.       Plaintiff requests Defendant correct their accounting of his escrow account. Plaintiff

is entitled to the actual damages he suffered as calculated by the difference between what was ear-

marked for escrow funds and what Defendant actually deposited as escrow funds for the years

Defendant serviced the loan.

        106.       Plaintiff suffered actual damages in an amount to be determined through discovery

and/or at trial.

        107.       Plaintiff request $1000.00 in statutory damages, for each violation of RESP A by the

Defendant; pursuant to 12 USC 2605(/)(l)(B).

        108.       Plaintiff request his attorney's fees and costs pursuant to 12 USC §2605(/)(3).

        109.       Plaintiff request treble damages, costs and attorney's fees pursuant to 12 US. C

§2607(d)(1)-(6).

                                            FDCPA DAMAGES

        110.       Plaintiff reiterates a.nd incorporates all previous paragraphs as if fully stated herein.

        111.       Plaintiff request statutory damages in the amount of $1000.00.
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         112.     Plaintiff request actual damages of emotional distress for the money Plaintiff was

overcharged and the money in escrow that was not applied correctly or was illegally applied or

converted, in an amount determined at trial.

         113.     Plaintiff prays for his attorney fees and costs to bring this action.

                                            FCRA DAMAGES

          114.    Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

          115.    Plaintiff request actual damages proven at trial, statutory damages for each violation

proven at trial, punitive damages in an amount determined at trial, treble damages, costs, and attorney

fees.

                                           ADTPA DAMAGES

          116.    Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

          117.    Plaintiff request actual damages proven at trial, costs, and attorney fees.

        DAMAGES FOR BREACH OF CONTRACT, FRAUD, CONSTRUCTIVE FRAUD,
                           UNJUST ENRICHMENT

          118.    Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

          119.    Plaintiff request an amount proven at trial, and for attorney fees for breach of contract,

pursuant to A. CA. 16-22-308.

                                    DECLARATORY JUDGMENT

          120.    Plaintiff reiterates and incorporates all previous paragraphs as if fully stated herein.

          121.    Plaintiff prays for declaratory judgment, finding that Ocwen' s illegal conduct against

the Plaintiff is wonton and willful.

                                   DEMAND FOR TRIAL BY JURY

          122.    Plaintiffs respectfully request a trial by jury.
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               WHEREFORE, Plaintiff, Jimmy Lewis, prays this court grant his for Complaint and

prays for judgment against the Defendant, for violations of RESP A, FDCPA, AFDCP A, FCRA

ADTP A, breach of contract and unjust enrichment, in an amount proven at trial; along with his court

costs, attorney's fees, and for all other relief to which Plaintiff has shown himself entitled.

                                                       Respectfully Submitted,




                                                       Victoria Leigh (2011257)
                                                        P.O. Box 21514
                                                        Little Rock, AR 72221
                                                       (501) 227-7627
                                                       (501) 227-7628 Fax
                                                       v@leigh-law.com
                        ·-    ·- ---- -
                               -~

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0 CW EN
                                                                                                 www.OCWEN.COM



January 23, 2014




Jimmy L. Lewis


116 Blazer Road
Junction City, AR 71749




Loan Number:              7092479422
Property Address:         116 Blazer Road, Junction City, AR 71749
Analysis Date:            01122/14


Dear Jimmy L. Lewis :


                              ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
                                          ACCOUNT HISTORY

This is a statement of actual and scheduled activity in your escrow account from April 2012 through February 2014. Any
scheduled activity is denoted by an "s".


Your monthly mortgage payment for the past year was $1,330.34 of which $1,008.88 was for principal and interest and
$321.46 went into your escrow accomit.

Actual Month Projected   Actual      Projected
             Payments To Payments To Payments
                                                 Actual
                                                 'ayments
                                                               --                  .
                                                                     · tion Projected
                                                                              !Ending
                                                                                                           !Actual Ending
                                                                                                           Balance
             Escrow      Escrow      From Escrow OO'rom Escrow         .. ,   !Balance
Apr-12                   $191.12                 $680.23-s   - C-ounty Tax _/                              $-3,278.36
                                                                       L    ~.ADDFf:#
                                                                            000001985303
                                                                            25)
May-12
Jun-12                         $231.32                                                                     $-3,047.04
Jul-12                         $231.32                                                                     $-2,815.72
                               $231.32                                                                     $-2,584.40
 Aug-12                        $231.32                       I                                             $-2,353.08
 Seo-12
 Oct-12                        $231.32                                                                     $-2,121.76
 Nov-12                                                      !
                                                             i




                                                                                                                            fr'
 Dec-12                        $231.32                                                                     $-1,890.44


                                                                                                                [ EXHIBIT
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                                                                                                     www.OCWBN.COM


.--------- -
Actual Month Projected   !Actual     Projected              !Actual      Description            !Projected   Actual Endin,
             Payments To Payments To !Payments              Payments                            !Ending      Balance
             Escrow       Escrow     From Escrow            !From Escrow                        \Balance
                          $231.32                                                                            $-1,659.12
Jao-13                                                      $1,429.00           Lender placed                $-3,088.12
                                                                                Hazard
                                                                                Insurance
                                                                                (POLICY#
                                                                                ~R07235558
                                                                                912)
Feb-13                        $231.32                                                                        $-2,856.80
*Mar-13        $321.46        $231.32                                        -'-         --     $1,035.92    $-2,625.48
*Apr-13        $321.46        $231.32                        $680.23-s   r      County Tax      ~,357.38     $-3,074.39
                                                                         \.,_   (PARC~
                                                                                oooou1985303
                                                                                25)
May-13         $321.46        $321.46                                                           $1,678.84    $-2,752.93
Jun-13         $321.46        $321.46                                                           $2,000.30    $-2,431.47
IJul-13        $321.46        $321.46                                                           $2,321.76    $-2,110.01
IAug-13        $321.46        $321.46                                                           $2,643.22    $-1,788.55
Sep-13         $321.46        $321.46                                                           $2,964.68    $-1,467.09
*Oct-13        $321.46        $321.46        $1,429.00                          !FORCED         $1,857.14    $-1,145.63
                                                                                Hazard
                                                                                Insurance
                                                                                (POLICY#
                                                                                ALR.07235558
                                                                -               91-2}
*                             $321.46                                                                        $-824.17
*                             $321.46                                                                        $-502.71
*Nov-13        $321.46        $321.46                        $120.00            Lender placed $2,178.60      $-301.25
                                                                                Hazard
                                                                                       ce
                                                                                (POLICY#
                                                                                MLR07236479
                                                                                1423)
Dec-13         $321.46        $321.46                                                         $2,500.06      $20.21
Jan-14         $321.46        $321.46                                                         $2,821.52      $341.67
Feb-14         $321.46        $321.46-s                                                       $3,142.98      $663.13
TOTALS         $3,857.52      $6,361.84      $1,429.00       $2,909.46

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount
Last year, we anticipated that payments from your account would be made during this period equaling $1,429.00. Under
Federal law, your lowest monthly balance should not have exceeded $238.17 or 1/6 of anticipated payments from the
account
Based on the above information, our records indicate that your property taxes were paid to Lender placed Hazard Insurance
in the amount of $1,549.00. Please carefully review the disbursement information listed under the Projections For Coming
Year on the other side of this document If the information is incorrect, please forward a copy of the declaration page for
                                     Case 4:14-cv-00717-JM Document 1 Filed 12/08/14 Page 18 of 22
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                                                                   REDEEM REAL ESTATE 2011
                                                                                                                                      UNION COUNTY OF ARKANSAS
                                            - Taxes for the year


                                                                                                                                                                                   TOTAL


       00000-19853-0325                                                                                                            17076                      TA.x'
             FRL SW SW 5.32 AC                                                                                                                                P.EN-
       1  426.90 42.69   2  52.94                                       5.30                             ** M ***                                           TMBR'
       3   51.23  5.12   4 133.19                                      13.32                             AX   PEN                                             PE'N
       5                 6   6.83                                        .68                                                                                  IMP"
       7                 8                                                                                                                                    PEN
       9                10                                                                                                                                    Ti\tT                 67.9S
                         THE HOLDER OF THIS RECEIPT IS REQUESTED          IF PAYf.lENT IS f1ADE BY                                                       PENALTY
                         TO EXA~llNE IT THOROUGHLY AND SHOULD             CHECK AND SAflE JS r~OT
                         THERE BE A ~11STAKE IN IT RETURN IT IM-          HONORED UPON PRESEN                                                       COLLECTION                           2 •50
                         MEDIATELY FOR CORRECTION OR THIS OF-             TATION THIS    RECEIPT JS                                                   COSTS
                                                                          NULL AND \fO!D                                                                       ~--''--~~~~-.j
                         FICE IS NOT RESPONSIBLE.
                                                                                                                                                                                   820.29
                                      TO WHOM ASSESSED
                                                                                                                  JIMMY LEE LEWIS
                                                                                                                                                                                     '          "'.'
          LEt.JIS, JIMMY LEE                                                                                                                                          '- AMoUNfPAID'
                                                                                                                                                                          '   ,..'         "'

          116 BLAZER ROAD
          JUNCTION CITY                                            AR 71749
                                                                                                      64395               10/ 25/ 13          D II~ ID                             820.29
                                                                                                                    TOTAL AMOUNT PAID                                              820.29
DOROTHY RALEY, COLLECTOR                                                      ROE                                  CASH REFUND AMOUNT                                                 . 71
~-E~C_TO~R~~~~~~~~~~~~~~~~~D~.C~·~~~~~ '
                                                           CASH:                   821.00




                                                                                                                                                                                   I     EXHIBIT1:)    I
                                Case 4:14-cv-00717-JM Document 1 Filed 12/08/14 Page 19 of 22




      ··o··-·····-····--... ~                   PLEASE INCLUDE THE BELOW COUPON WITH ANY UPDATES

      L__I
      0 CW EN
                                                     Please update my escrow records with the following information:
                                                                                                                                         .llr         ~    ·11'
                                                                                                                                         e             ,     14            •
       Loan Number- 7092479422
                                                                                                              New Insurance   Compa~;: a:J!R .{:tJA-~
        Jimmy L Lewis                                                                                         Now lnsn<anco Agent.            f;1A, /-ela,.
        116 Blazer Road
        Junction City, AR 71749                                                                               New Policy Number:         qq DtB 3'-J;)..
                                                                 Additional Information::'       ~            ~                        n....,. ~ ,..J
         OCWEN Loan Servicing, LLC                               "J: p~ Qm~ ~ ~£1~ 1~
         Attn: Escrow Department
         P.O. Box 24737
         West Palm Beach, FL 33416-4737



       This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
     purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is not
                                   intended as and does not constitute an attempt to collect a debt.
                                                                                                                   NMLS#J852




                                                                                                                     UNION COUNTY OF ARKANSA
                                                                                  RECEIPT OF TAXES PAID
                                                Taxes for the year   20l 3

                                PARCEL NO.     LEGAL i:)e5cRtPTJON                                                                        TAX                      TOTAL

     REAL ESTATE
       00000-19853,-0325                                                                                             25310                                        1007.34
        LEWIS, JIMMY LEE                                                                                                 TA            CREDIT                      350.00
        FRL SW SW 5.32 AC                                                                                                 SU          TOTAL                        657.34
       INSTR #974781#05-6547                                                                                                                  TMBR                    .20


                                THE HOLDER OF THIS RECEIPT IS REQUESTED       IF PAYMENT IS MADE BY                                    PENALTY
                                TO EXAMINE IT THOROUGHLY AND SHOULD           CHECK AND SAME IS NOT
                                THERE BE A MISTAKE IN IT, RETURN IT IM-       HONORED UPON PRESEN-                                    COLLECTION
                                MEDIATELY FOR CORRECTION OR THIS OF·          TATION THIS RECEIPT IS                                    COSTS
                                                                              NULL AND VOID                                                     .---J'--~~~~~
                                FICE IS NOT RESPONSIBLE
                                                                                                                                                                  657.54
                                                                                                       151
                                                                                                                                  HOW PAID
            Lfl..JJS,               JIMMY      LEF                                             RECEIPT NO.        DATE                                      AMOUNT PAID
                                                                                                                              CHECK    CASH     M.O
           116 BLAZER RO
           JUNCTION CITY                                             1~R71749
                                                                                                       1 51                   DQD                                  657.54

                                                                                                                                                      EXHIBIT
COLLECTOfb      0 R 0 TH Y R A l E ¥ ,            C 0 L L E CT 0 R     D.C.      CR
               Case 4:14-cv-00717-JM Document 1 Filed 12/08/14 Page 20 of 22




  OCWEN
                                                                                                     WWW.OCWEN.COM



 your current insurance policy and/or the most recent tax bill to the below address. You may also fax this information to Attn:
 Escrow Department at (561) 682-7875.




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                                      Case 4:14-cv-00717-JM Document 1 Filed 12/08/14 Page 21 of 22
                                                                        *********************
                                                                        *** FAX TX REPORT ***
                                                                        *********************

                                                                           TRANSMISSION OK

                                                         JOB NO.                        0299
                                                         DESTINATION ADDRESS            15616827875
                                                         SUBADDRESS
                                                         DESTINATION ID
                                                         ST. TIME                       03/18 10:41
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,,   .
                     Case 4:14-cv-00717-JM Document 1 Filed 12/08/14 Page 22 of 22




                                                                            Jimmy Lewis

                                                                            Account#7092479422




         Dear Ocwen,

          A few months ago, I requested that my Escrow account be closed and the balance refunded to me. The
         escrow was closed and I did receive a check for what Ocwen showed as my balance. The problem that
         still exists is, money was taken out of my escrow account by Ocwen (I am sending those documents with
         this letter) for real estate tax in April 2012 ($680.23) and April 2013 ($680.23). I have the receipts for the
         past years where I have paid those taxes, not Ocwen. $1,36046 was taken from my escrow account by
         you (Ocwen), but was not paid toward my taxes. So, this money is owed to me.

          I have called and talked to different agents at your company the past 5 months and they did not
         understand, or disagreed with me about this matter. Money was taken out of the escrow account, but
         was not used for what the statement said it was to be used for. The last two agents that I talked to this
         month told me to fax the information to you, the research department. You will find my receipts of paid
         taxes and the statement that was sent to me by your company, (Ocwen).




         Thank You

         Jimmy Lewis




                                                                                                                 [EXHIBIT£._   1
